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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                        Case No. 22-CR-176 (CJN)

 STEPHEN JOHNSON,

                   Defendant.


                            [PROPOSED] RESTRAINING ORDER

        Upon consideration of the United States’ Motion to Restrain Dissipation of Assets, and for

good cause shown, it is hereby ORDERED that the Motion is GRANTED; and it is further

        ORDERED that the defendant, Stephen Johnson, and his spouse, representatives,

attorneys, agents, family members, nominees, alter egos (companies), assigns, and any other

person or entity acting for or in concert with the defendant, hereinafter described as the “Restrained

Parties,” shall fully comply with the terms of this Order and shall not take any action prohibited

by this Order; and it is further

        ORDERED that compliance with the terms of this Order requires that the Restrained

Parties shall not engage in the following:

    a) Directly or indirectly alienate, dissipate, transfer, sell, assign, lease, pledge, encumber, or
       dispose of the property belonging to the defendant in any manner without prior approval
       of this Court, including but not limited to withdrawing funds from the defendant’s bank
       accounts, securities, or life insurance policies, or selling or encumbering the defendant’s
       real or personal property;

    b) Take, or cause to be taken, any action which could have the effect of concealing or moving
       property from the jurisdiction of this Court; or

    c) Take, or cause to be taken, any action that would have the effect of depreciating, damaging,
       or in any way diminishing the value of any property, whether real or personal, except for
       payment of attorney’s fees and normal monthly living expenses, that is, those expenses that
       are necessary to provide for the defendant’s or his spouse’s health, welfare, and/or
       production of income, to include housing and utilities; food; housekeeping supplies;
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       apparel; personal care products; necessary out-of-pocket health care expenses, such as
       medical services, prescription drugs, and medical supplies; and transportation.

       This Order shall remain in full force and effect until the defendant has satisfied the

anticipated obligations to be ordered by this Court at sentencing or until further order of this Court.



DATE: May ___, 2024                                    ___________________________
                                                       CARL J. NICHOLS
                                                       United States District Judge




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